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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON

MALIBU MEDIA, LLC,                               )
                                                 )
       Plaintiff,                                )   Civil Action Case No. 4:18-cv-02090
                                                 )
v.                                               )
                                                 )
JOHN DOE, subscriber assigned IP address         )
73.76.130.60,                                    )
                                                 )
       Defendant.                                )
                                                 )

             PLAINTIFF’S NOTICE OF SETTLEMENT AND VOLUNTARY
                  DISMISSAL WITH PREJUDICE OF JOHN DOE

       PLEASE TAKE NOTICE, Plaintiff has settled this matter with John Doe, subscriber

assigned IP address 73.76.130.60. (“Defendant”) through his counsel. Pursuant to the settlement

agreement’s terms, Plaintiff hereby voluntarily dismisses John Doe from this action with prejudice.

Pursuant to Fed.R.Civ.P. 41(a)(1)(A)(i) Defendant John Doe has neither answered Plaintiff’s

Complaint nor filed a motion for summary judgment.


       Consistent herewith Plaintiff consents to the Court having its case closed for

administrative purposes.


       Dated: September 18, 2018.
                                                     Respectfully submitted,

                                                     By: /s/ Paul S. Beik
                                                     Paul S. Beik
                                                     Texas Bar No. 24054444
                                                     S.D. Tex. ID No. 642213
                                                     BEIK LAW FIRM, PLLC
                                                     8100 Washington Ave., Suite 1000
                                                     Houston, TX 77007
                                                     T: 713-869-6975
                                                     F: 713-868-2262

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                                                    E-mail: paul@beiklaw.com
                                                    ATTORNEY FOR PLAINTIFF


                                CERTIFICATE OF SERVICE
       I hereby certify that, on September 18, 2018, I electronically filed the foregoing document

with the Clerk of the Court using CM/ECF and that service was perfected on all counsel of record

and interested parties through this system.

                                                    By: /s/ Paul S. Beik
                                                    PAUL S. BEIK




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